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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:
                                                               Chapter 11
TRIANGLE PETROLEUM CORPORATION,
                                                               Case No. 19-_____ (___)
                         Debtor. 1


                        CHAPTER 11 PLAN OF REORGANIZATION OF
                         TRIANGLE PETROLEUM CORPORATION


Dated: May 7, 2019

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THIS CHAPTER 11 PLAN IS BEING SOLICITED FOR ACCEPTANCE OR
REJECTION IN ACCORDANCE WITH SECTION 1125 OF THE BANKRUPTCY
CODE AND WITHIN THE MEANING OF SECTION 1126 OF THE BANKRUPTCY
CODE. THIS CHAPTER 11 PLAN WILL BE SUBMITTED TO THE BANKRUPTCY
COURT FOR APPROVAL FOLLOWING SOLICITATION AND THE DEBTOR’S
FILING FOR CHAPTER 11 BANKRUPTCY.


1
    The last four digits of the Debtor’s taxpayer identification number are 0762. The Debtor’s mailing address is
    100 Fillmore Street, 5th Floor, Denver, Colorado 80206.
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                            CHAPTER 11 PLAN OF REORGANIZATION OF
                              TRIANGLE PETROLEUM CORPORATION

                                                  INTRODUCTION

        Triangle Petroleum Corporation, a Delaware corporation, as the Debtor, 2 hereby proposes
this Plan for, among other things, the resolution of the outstanding Claims against, and Equity
Interests in, the Debtor. The Debtor is the proponent of this Plan within the meaning of section
1129 of the Bankruptcy Code. Reference is made to the Disclosure Statement (distributed
contemporaneously herewith) for a discussion of the Debtor’s history, business, properties, and
projections and the events leading up to Solicitation of this Plan and for a summary of the
treatment provided for herein. The Debtor urges all Holders of Claims entitled to vote on this
Plan to review the Disclosure Statement and this Plan, in full, before voting to accept or reject
this Plan. There may be other agreements and documents that will be filed with the Bankruptcy
Court that are referenced in this Plan as Exhibits. All such Exhibits are incorporated into and are
a part of this Plan as if set forth in full herein. Subject to certain restrictions set forth in this Plan,
and the requirements set forth in section 1127 of the Bankruptcy Code and Bankruptcy Rule
3019, the Debtor reserves the right to amend, supplement, amend and restate, modify, revoke or
withdraw this Plan prior to the Effective Date.




    2   Unless otherwise noted, capitalized terms used in this Plan have the meanings set forth in Article I.B of this Plan.




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                                           ARTICLE I.

              RULES OF INTERPRETATION, COMPUTATION OF TIME,
                    GOVERNING LAW AND DEFINED TERMS

A.     Rules of Interpretation, Computation of Time and Governing Law

        For purposes hereof: (a) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the
masculine, feminine or neuter gender shall include the masculine, feminine and the neuter
gender; (b) any reference herein to a contract, lease, instrument, release, indenture or other
agreement or document being in a particular form or on particular terms and conditions means
that the referenced document shall be substantially in that form or substantially on those terms
and conditions; (c) any reference herein to an existing document or exhibit shall mean that
document or exhibit, as it may thereafter be amended, modified or supplemented; (d) unless
otherwise specified, all references herein to “Articles” and “Sections” are references to Articles
and Sections hereof; (e) unless otherwise stated, the words “herein,” “hereof,” “hereunder” and
“hereto” refer to this Plan in its entirety rather than to a particular portion of this Plan;
(f) captions and headings to Articles and Sections are inserted for convenience of reference only
and are not intended to be a part of or to affect the interpretation hereof; (g) any reference to an
Entity as a Holder of a Claim or Equity Interest includes such Entity’s successors and assigns;
(h) the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (i) any
term used in capitalized form herein that is not otherwise defined but that is used in the
Bankruptcy Code or the Bankruptcy Rules has the meaning assigned to that term in the
Bankruptcy Code or the Bankruptcy Rules, as the case may be; (j) “$” or “dollars” means dollars
in lawful currency of the U.S.; (k) any effectuating provisions may be interpreted by the Debtor
or the Reorganized Debtor in a manner consistent with the overall purpose and intent of this
Plan, all without further notice to or action, order, or approval of the Bankruptcy Court or any
other entity, and, to the extent of any dispute with respect thereto, the Bankruptcy Court shall
retain jurisdiction consistent with Article IX; and (l) except as otherwise provided, any
references to the Effective Date shall mean the Effective Date or as soon as reasonably
practicable thereafter. The provisions of Bankruptcy Rule 9006(a) shall apply in computing any
period of time prescribed or allowed herein. If any payment, distribution, act or deadline under
this Plan is required to be made or performed or occurs on a day that is not a Business Day, then
the making of such payment or distribution, the performance of such act or the occurrence of
such deadline shall be deemed to be on the next succeeding Business Day, but shall be deemed to
have been completed or to have occurred as of the required date.

B.     Definitions

                 1.1    “Accrued Professional Compensation” means, at any date, and
regardless of whether such amounts are billed or unbilled, all of a Professional’s accrued and
unpaid fees and reimbursable expenses for services rendered during the Chapter 11 Case through
and including such date, whether or not such Professional has filed a fee application for payment
of such fees and expenses, (i) all to the extent that any such fees and expenses have not been
previously paid (regardless of whether a fee application has been filed for any such amount) and
(ii) after applying any retainer that has been provided by the Debtor to such Professional and not


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previously applied. No amount of a Professional’s fees and expenses denied under a Final Order
shall constitute Accrued Professional Compensation.

               1.2     “Administrative Claim” means a Claim for payment of an administrative
expense of a kind specified in section 503(b) or section 1114(e)(2) of the Bankruptcy Code and
entitled to priority under section 507(a)(1) of the Bankruptcy Code, including (a) actual,
necessary costs and expenses of preserving the Debtor’s Estate and operating the Debtor’s
business, (b) Professional Fee Claims and any other compensation for legal, financial, advisory,
accounting, and other services and reimbursement of expenses Allowed by the Bankruptcy Court
under section 327, 328, 330, 331, 363, or 503(b) of the Bankruptcy Code to the extent incurred
prior to and including the Effective Date, and (c) all fees and charges assessed against the Estate
under chapter 123 of title 28, United States Code.

               1.3    “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy
Code.

              1.4     “Amended By-Laws” means the Reorganized Debtor’s amended or
amended and restated by-laws, a substantially final form of which will be contained in the Plan
Supplement to the extent they contain material changes to the existing documents.

               1.5    “Amended Certificate of Incorporation” means the Reorganized
Debtor’s amended or amended and restated certificate of incorporation, a substantially final form
of which will be contained in the Plan Supplement.

                1.6    “Allowed” means, with respect to any Claim, such Claim or any portion
thereof that the Debtor or the Reorganized Debtor has assented to the validity of or that has been
(a) allowed by a Final Order of the Bankruptcy Court, (b) allowed pursuant to the terms of this
Plan, (c) allowed by agreement between the Holder of such Claim, on one hand and the Debtor
or Reorganized Debtor, as applicable, on the other hand, or (d) allowed by a Final Order of a
court of competent jurisdiction.

               1.7    “Avoidance Actions” means any and all avoidance, recovery,
subordination or other actions or remedies that may be brought by and on behalf of the Debtor or
its Estate under the Bankruptcy Code or applicable non-bankruptcy law, including actions or
remedies arising under chapter 5 of the Bankruptcy Code.

               1.8     “Ballot” means, with respect to the Holder of the Claim in the Voting
Class, the applicable voting form distributed to such Holder on which the Holder is to indicate,
among other things, acceptance or rejection of this Plan in accordance with the instructions
contained therein and make any other elections or representations required pursuant to this Plan
or as described in the Disclosure Statement.

                1.9    “Bankruptcy Code” means title 11 of the United States Code, as now in
effect or hereafter amended.

                1.10 “Bankruptcy Court” means the United States Bankruptcy Court for the
District of Delaware.



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             1.11 “Bankruptcy Rules” means, collectively, the Federal Rules of
Bankruptcy Procedure and the Official Bankruptcy Forms and the Local Rules, in each case as
amended from time to time and as applicable to the Chapter 11 Case or proceedings therein.

              1.12 “Business Day” means any day, excluding Saturdays, Sundays or “legal
holidays” (as defined in Bankruptcy Rule 9006(a)), on which commercial banks are open for
business in New York, New York.

               1.13    “Cash” means legal tender of the U.S. or the equivalent thereof.

                1.14 “Cause of Action” means any action, proceeding, agreement, claim, cause
of action, controversy, demand, right, Lien, indemnity, guaranty, suit, obligation, liability,
damage, judgment, account, defense, offset, power, privilege, license, and franchise of any kind
or character whatsoever, known or unknown, contingent or non-contingent, matured or
unmatured, suspected or unsuspected, foreseen or unforeseen, liquidated or unliquidated,
disputed or undisputed, secured or unsecured, assertable directly or derivatively, whether arising
before, on, or after the Petition Date, in contract or in tort, in law or in equity, or pursuant to any
other theory of law. Cause of Action also includes: (a) any right of setoff, cross-claim,
counterclaim, or recoupment, and any claim on a contract or for a breach of duty imposed by law
or in equity; (b) with respect to the Debtor, the right to object to Claims or Equity Interests;
(c) any claim pursuant to section 362 or chapter 5 of the Bankruptcy Code; (d) any claim or
defense including fraud, mistake, duress, and usury, and any other defenses set forth in section
558 of the Bankruptcy Code; (e) any Avoidance Action; and (f) any state law fraudulent transfer
claim.

               1.15 “Chapter 11 Case” means the case commenced by the Debtor under
chapter 11 of the Bankruptcy Code on the Petition Date in the Bankruptcy Court.

              1.16 “Claim” means a “claim” against the Debtor as defined in section 101(5)
of the Bankruptcy Code.

                 1.17 “Class” means a category of Claims or Equity Interests classified under
Article III of the Plan pursuant to section 1122 of the Bankruptcy Code.

              1.18   “Confirmation” means the entry by the Bankruptcy Court of the
Confirmation Order on the docket of the Chapter 11 Case, within the meanings of Bankruptcy
Rules 5003 and 9021.

               1.19    “Confirmation Date” means the date upon which Confirmation occurs.

              1.20 “Confirmation Hearing” means the hearing to consider confirmation of
this Plan under section 1128 of the Bankruptcy Code, as such hearing may be adjourned or
continued from time to time.

               1.21 “Confirmation Order” means the order of the Bankruptcy Court
confirming this Plan and approving the Disclosure Statement, entered pursuant to section 1129 of
the Bankruptcy Code, which shall be in form reasonably satisfactory to the Debtor and the JPM
Parties.


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               1.22 “Cure” means the payment of Cash, or the distribution of other property
or other action (as the parties may agree or the Bankruptcy Court may order), as necessary to
cure defaults under an Executory Contract or Unexpired Lease of the Debtor that the Debtor may
assume under section 365(a) of the Bankruptcy Code.

              1.23 “Debtor” means Triangle Petroleum Corporation, as debtor and debtor in
possession under sections 1107 and 1108 of the Bankruptcy Code.

              1.24 “Disclosure Statement” means that certain Disclosure Statement for the
Chapter 11 Plan of Reorganization of Triangle Petroleum Corporation, as may be amended,
supplemented, amended and restated, or otherwise modified from time to time, and that is
prepared and distributed in accordance with sections 1125 and 1126 of the Bankruptcy Code,
Bankruptcy Rules 3016 and 3018, and applicable non-bankruptcy law.

               1.25 “Distribution Agent” means the Reorganized Debtor or any party
designated by the Reorganized Debtor to serve as distribution agent under this Plan.

               1.26    “Distribution Record Date” means the Confirmation Date.

              1.27 “D&O Liability Insurance Policies” means all insurance policies
(including any “tail policy”) for liability of the current or former directors and officers
maintained by the Debtor as of the Petition Date or thereafter.

               1.28 “Effective Date” means the date on which a notice of effectiveness is filed
with the Bankruptcy Court confirming that (a) all conditions in Article VIII.A of this Plan have
been satisfied or waived as provided for in Article VIII.B and (b) consummation of the
Restructuring Transactions has occurred.

             1.29      “Entity” means an “entity” as defined in section 101(15) of the
Bankruptcy Code.

               1.30 “Equity Interest” means all outstanding ownership interests in the
Debtor, including any interest evidenced by common or preferred stock, a limited liability
company or other membership or partnership interest or unit, a warrant, an option, or any other
right to acquire or otherwise receive any ownership interest in the Debtor, or any right to
payment or compensation based upon any such interest, whether or not such interest is owned by
the Holder of such right to payment or compensation.

               1.31 “Estate” means the estate of the Debtor in the Chapter 11 Case, as created
under section 541 of the Bankruptcy Code.

                1.32    “Exculpated Parties” means, (a) the Debtor, (b) the Reorganized Debtor,
and (c) all current officers, directors, professionals, advisors, accountants, attorneys, investment
bankers, consultants, employees, agents and other representatives of the Debtor in their capacity
as such.

                 1.33 “Executory Contract” means a contract to which the Debtor is a party
that is subject to assumption or rejection under section 365 of the Bankruptcy Code.


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             1.34 “Exhibit” means an exhibit annexed to this Plan or as an exhibit or
appendix to the Disclosure Statement (as such exhibits may be amended, supplemented,
amended and restated, or otherwise modified from time to time).

              1.35     “Exit Facility” means an exit term loan credit facility in an aggregate
principal amount of $5,000,000 to be provided to the Reorganized Debtor by the Exit Facility
Lender on the Effective Date pursuant to the Exit Facility Documents.

                1.36 “Exit Facility Credit Agreement” means that certain credit agreement, a
substantially final form of which will be contained in the Plan Supplement, which shall be
effective on the Effective Date, by and among the Reorganized Debtor and the Exit Facility
Lender, as it may be amended, supplemented, amended and restated, or otherwise modified from
time to time.

               1.37 “Exit Facility Lender” means Chase Lincoln First Commercial
Corporation in its capacity as lender under the Exit Facility Credit Agreement and each other
party that becomes a lender thereunder from time to time in accordance with the terms of the
Exit Facility Credit Agreement.

               1.38 “Exit Facility Documents” means, collectively, the Exit Facility Credit
Agreement and all other “Loan Documents” as defined therein, including all other agreements,
documents, and instruments delivered or entered into pursuant thereto or in connection therewith
(including any guarantee agreements and collateral documents) (in each case, as amended,
restated, modified, or supplemented from time to time), each of which shall be, to the extent
applicable.

                1.39      “Final Order” means an order or judgment of the Bankruptcy Court or
another court of competent jurisdiction as to which no stay has been entered and either the time
to appeal, petition for certiorari, or move for a new trial, reargument or rehearing has expired and
as to which no appeal, petition for certiorari, or other proceedings for a new trial, reargument or
rehearing shall then be pending or as to which any right to appeal, petition for certiorari, new
trial, reargue, or rehear shall have been waived in writing in form and substance satisfactory to
the Debtor or the Reorganized Debtor, as applicable, or, in the event that an appeal, writ of
certiorari, new trial, reargument, or rehearing thereof has been sought, such order of the
Bankruptcy Court shall have been affirmed, or otherwise not vacated, or such appeal, writ of
certiorari, new trial, reargument, or rehearing shall have been denied, in each case, by the highest
court to which such appeal, writ of certiorari, new trial, reargument, or rehearing had been
sought and the time to take any further appeal, petition for certiorari, or move for a new trial,
reargument or rehearing shall have expired; provided, however, that the possibility that a motion
under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the
Bankruptcy Rules, may be filed with respect to such order shall not preclude such order from
being a Final Order.

             1.40 “General Unsecured Claim” means any Claim against the Debtor that is
not an Administrative Claim, Priority Tax Claim, Other Priority Claim, Professional Fee Claim,
Term Loan Claim, Secured Note Claim, or Other Secured Claim.




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               1.41 “Governmental Unit” means a “governmental unit” as defined in section
101(27) of the Bankruptcy Code.

               1.42 “Holder” means an Entity holding a Claim against, or Equity Interest in,
the Debtor as of the applicable date of determination.

             1.43 “Impaired” means, with respect to a Claim, Equity Interest or Class of
Claims or Equity Interests, “impaired” within the meaning of such term in section 1124 of the
Bankruptcy Code.

                1.44 “Indemnification Agreement” means any organizational or employment
and/or service agreement of or with the Debtor and currently in place, whether in the bylaws,
certificates of incorporation, certificates of formation, limited liability company agreements,
other organizational or formation documents, board resolutions, indemnification agreements, or
employment contracts, that provides for the indemnification of any current director, officer or
employee of the Debtor.

                1.45   “Internal Revenue Code” means the Internal Revenue Code of 1986, as
amended.

                 1.46 “JPMC” means JPMorgan Chase Bank, N.A., its assignee, designee or
transferee in its capacity Holder of the Term Loan Claim.

                 1.47 “JPMS” means J.P. Morgan Securities, LLC., its assignee, designee or
transferee in its capacity as Holder of the Secured Note Claim.

                1.48   “JPM Parties” means JPMC and JPMS, together.

               1.49 “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy
Code, and, with respect to any asset, includes, without limitation, any mortgage, lien, pledge,
charge, security interest or other encumbrance of any kind, or any other type of preferential
arrangement that has the practical effect of creating a security interest, in respect of such asset.

               1.50 “Local Rules” means the Local Rules of Bankruptcy Practice and
Procedure of the United States Bankruptcy Court for the District of Delaware.

               1.51 “New Board” means the initial board of directors of the Reorganized
Debtor, which shall as of the Effective Date consist of members selected by JPMS and shall be
disclosed in the Plan Supplement or announced on the record at the Confirmation Hearing.

              1.52 “New Common Stock” means the common shares in the Reorganized
Debtor issued and outstanding on the Effective Date after giving effect to all the Restructuring
Transactions.

                1.53   “NOLs” means net operating losses as determined for U.S. federal income
tax purposes.




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               1.54 “Other Priority Claim” means a Claim entitled to priority under section
507(a) of the Bankruptcy Code other than a Priority Tax Claim or an Administrative Claim.

               1.55 “Other Secured Claim” means any Secured Claim against the Debtor
other than the Secured Note Claim.

                1.56 “Person” means a “person” as defined in section 101(41) of the
Bankruptcy Code and also includes any natural person, corporation, general or limited
partnership, limited liability company, firm, trust, association or other Entity, whether acting in
an individual, fiduciary or other capacity.

             1.57 “Petition Date” means the date on which the Debtor files its petition for
relief commencing the Chapter 11 Case.

                1.58 “Plan” means, collectively, this chapter 11 plan of reorganization, the
Exhibits, all supplements, appendices, and schedules hereto, either in their present form or as the
same may be amended, supplemented, amended and restated, or otherwise modified from time to
time.

               1.59 “Plan Document” means any of the documents, other than this Plan, to be
executed, delivered, assumed, or performed in connection with the occurrence of the Effective
Date, including, without limitation, the documents to be included in the Plan Supplement,
including, but not limited to, the Exit Facility, the Amended Certificate of Incorporation and the
Amended By-Laws.

              1.60 “Plan Supplement” means any supplement to this Plan, and the
compilation of documents, forms of documents, and Exhibits to this Plan, as amended, modified,
or supplemented from time to time, initial drafts of which shall be filed by the Debtor as
permitted herein on or before the Plan Supplement Filing Date, and which shall include the
(a) Amended Certificate of Incorporation, (b) Amended By-Laws, (c) Exit Facility Credit
Agreement, and (d) the identity of the members of the New Board and the officers of the
Reorganized Debtor, as required by section 1129(a)(5) of the Bankruptcy Code.

               1.61 “Plan Supplement Filing Date” means the date that is not fewer than
seven (7) days before the deadline to object to confirmation of this Plan.

               1.62 “Priority Tax Claim” means a Claim that is entitled to priority under
section 507(a)(8) of the Bankruptcy Code.

               1.63 “Professional” means (a) any Entity employed in the Chapter 11 Case
pursuant to section 327, 328, 363 or 1103 of the Bankruptcy Code and (b) any Entity seeking
compensation or reimbursement of expenses in connection with the Chapter 11 Case pursuant to
section 503(b)(4) of the Bankruptcy Code.

                1.64 “Professional Claims Bar Date” means the first Business Day that is
thirty (30) days after the Effective Date.




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               1.65 “Professional Fee Claim” means an Administrative Claim of a
Professional for compensation for services rendered or reimbursement of costs, expenses, or
other charges incurred on or after the Petition Date and prior to and including the Effective Date.

               1.66 “Professional Fee Escrow” means an escrow account to be funded with
the Professional Fee Escrow Amount by the Debtor and Reorganized Debtor on the Effective
Date solely for the purpose of paying all Allowed Professional Fee Claims.

              1.67 “Professional Fee Escrow Amount” means the aggregate Accrued
Professional Compensation through the Effective Date as estimated by the Professionals in
accordance with Article II.A hereof.

               1.68 “Pro Rata” means, at any time, the proportion that the face amount of a
Claim or Equity Interest in a particular Class bears to the aggregate face amount of all Claims or
Equity Interests in that Class, unless this Plan provides otherwise.

               1.69 “Reinstated” or “Reinstatement” means leaving a Claim Unimpaired
under this Plan pursuant to section 1124(a)(2) of the Bankruptcy Code.

               1.70 “Related Parties” means, with respect to an Entity that is a Released
Party, collectively, its direct and indirect affiliates, officers, directors, employees, advisors,
financial advisors, principals, attorneys, professionals, accountants, investment bankers,
consultants, agents, and other representatives, each in their capacity as such.

                 1.71 “Releasesd Parties” means, collectively, in each case solely in their
respective capacities as such: (a) the Debtor, (b) the Reorganized Debtor, (c) the JPM Parties,
and (d) each of the Related Parties of the Entities in the foregoing (a)–(c); provided, however,
that if either of the JPM Parties “opt out” of, or objects to, the releases provided in this Plan, as
applicable, then such parties shall not be included in the definition of “Released Parties.”

                1.72 “Releasing Parties” means, collectively, in each case solely in their
respective capacities as such: (a) the Debtor, (b) the Reorganized Debtor, (c) the JPM Parties,
(d) each of the Related Parties of the Entities in the foregoing (a)–(c), and (e) those Holders of
Claims (i) who vote to accept this Plan, (ii) who are Unimpaired under this Plan and do not
timely object to the releases provided herein, (iii) whose vote to accept or reject this Plan is
solicited but who do not vote either to accept or to reject this Plan and do not opt out of granting
the releases herein, or (iv) who vote to reject this Plan but do not opt out of granting the releases
herein, and (e) Holders of Equity Interests who do not opt out of granting the releases herein.

                1.73 “Reorganized” means, in reference to the Debtor, the Debtor from and
after the Effective Date.

                1.74   “Restructuring Transactions” means the restructuring transactions for
the Debtor, in accordance with, and subject to the terms and conditions set forth in, this Plan.

              1.75 “Schedule of Assumed Executory Contracts and Unexpired Leases”
means the schedule (including any amendments or modifications thereto) of (a) agreements to be
assumed by the Debtor pursuant to this Plan, and (b) proposed Cure amounts, if any, to be paid


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on account of each agreement listed thereon, which is attached to this Plan as Exhibit A, as may
be amended by the Debtor from time to time prior to the Confirmation Date.

               1.76    “Section 510(b) Claim” means any Claim against the Debtor arising
from rescission of a purchase or sale of a security of any Debtor or an Affiliate of any Debtor, for
damages arising from the purchase or sale of such security, or for reimbursement or contribution
Allowed under section 502 of the Bankruptcy Code on account of such a Claim.

                1.77 “Secured Claim” means a Claim that is secured by a Lien on property in
which the Estate has an interest or that is subject to setoff under section 553 of the Bankruptcy
Code, to the extent of the value of the Claim Holder’s interest in the Estate’s interest in such
property or to the extent of the amount subject to setoff, as applicable, as determined pursuant to
section 506(a) of the Bankruptcy Code.

                1.78 “Secured Note” means that certain $120 million Amended and Restated
5.0% Convertible Second Lien Promissory Note dated September 28, 2018, by and among the
Debtor and JPMS, as amended, restated or otherwise modified from time to time in accordance
with its terms.

               1.79    “Secured Note Claim” means approximately $167 million in aggregate
outstanding principal and interest under the Secured Note.

             1.80   “Securities Act” means the Securities Act of 1933, as now in effect or
hereafter amended, and the rules and regulations of the U.S. Securities and Exchange
Commission promulgated thereunder.

               1.81 “Solicitation” means the Debtor’s formal request for acceptances of this
Plan, consistent with sections 1125 and 1126 of the Bankruptcy Code, Bankruptcy Rules 3017
and 3018, and applicable non-bankruptcy law.

             1.82 “Subsidiary Interests” means the Debtor’s interests in each of its direct
non-debtor subsidiaries, including, without limitation Triangle Real Estate Properties, LLC;
Ranger Fabrication, LLC; Nine Point Energy Holdings, Inc.; and Triangle Caliber Holdings,
LLC.

               1.83 “Term Loan Claim” means the approximately $2.0 million in outstanding
principal under the Term Loan Agreement.

             1.84 “Term Loan Agreement” means that certain $5.0 million Term Loan
Agreement, between JPMC and the Debtor.

                1.85 “Third Party Released Claims” shall have the meaning set forth in
Article III.D of this Plan.

               1.86 “Unexpired Lease” means a lease to which the Debtor is a party that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.

               1.87    “Unimpaired” means any Claim that is not designated as Impaired.


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              1.88 “Unimpaired Claim” means Administrative Claims, Priority Tax Claims
and any Claim arising prior to the Effective Date in Classes 1, 3 and 4 of this Plan.

               1.89   “U.S.” means the United States of America.

                1.90 “U.S. Trustee” means the Office of the United States Trustee for the
District of Delaware.

               1.91   “Voting Class” means Class 2.

                1.92 “Voting Record Date” means the date for determining which Holders are
entitled to receive the Disclosure Statement and vote to accept or reject this Plan, as applicable,
which date is May 7, 2019, for the Holder of the Claim in the Voting Class.

                1.93 “Voting Deadline” means the date by which a Holder of a Claim entitled
to vote on this Plan must deliver a Ballot to accept or reject this Plan.

                                          ARTICLE II.

                        TREATMENT OF UNCLASSIFIED CLAIMS

       In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims
and Priority Tax Claims are not classified and are not entitled to vote on this Plan.

A.     Administrative Claims

        Subject to subparagraph (i) below, in full and complete satisfaction, settlement, discharge
and release of each Allowed Administrative Claim, except to the extent that a Holder of such
Allowed Administrative Claim and either (x) the Debtor, or (y) the Reorganized Debtor, as
applicable, agrees in writing to less favorable treatment, the Debtor or Reorganized Debtor, as
applicable, shall pay to each Holder of an Allowed Administrative Claim, Cash in an amount
equal to such Allowed Administrative Claim on, or as soon thereafter as is reasonably
practicable (a) the Effective Date or, if payment is not then due, (b) on the due date of such
Allowed Administrative Claim; provided, however, that Administrative Claims incurred by the
Debtor in the ordinary course of business may be paid in the ordinary course of business in
accordance with such applicable terms and conditions relating thereto without further notice to or
order of the Bankruptcy Court.

       (i)     Professional Fee Claims

              (1)     Professionals shall submit final fee applications seeking approval of all
       Professional Fee Claims no later than the Professional Claims Bar Date. These
       applications remain subject to Bankruptcy Court approval under the standards established
       by the Bankruptcy Code, including the requirements of sections 327, 328, 330, 331, 363,
       503(b), and 1103 of the Bankruptcy Code, as applicable. Payments to Professionals shall
       be made upon entry of an order approving such Professional Fee Claims.




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              (2)     The Reorganized Debtor is authorized to pay compensation for services
       rendered or reimbursement of expenses incurred after the Effective Date in the ordinary
       course without the need for Bankruptcy Court approval.

              (3)    On the Effective Date, the Debtor or the Reorganized Debtor will establish
       and fund the Professional Fee Escrow with Cash equal to the Professional Fee Escrow
       Amount.

B.     Priority Tax Claims

       On the Effective Date, each Holder of an Allowed Priority Tax Claim will, as determined
by the Debtor or the Reorganized Debtor, as applicable, be satisfied in accordance with section
1129(a)(9)(C) of the Bankruptcy Code.

C.     Statutory Fees

       Notwithstanding anything herein to the contrary, on the Effective Date, the Debtor shall
pay, in full, in Cash, any fees due and owing to the U.S. Trustee at the time of Confirmation
pursuant to 28 U.S.C. § 1930(a)(6). On and after the Effective Date, to the extent that the
Chapter 11 Case remains open, and for so long as the Reorganized Debtor remains obligated to
pay quarterly fees, the Reorganized Debtor shall file with the Bankruptcy Court quarterly reports
in a form reasonably acceptable to the U.S. Trustee. The Debtor or Reorganized Debtor, as
applicable, shall remain obligated to pay quarterly fees to the U.S. Trustee until the earliest of the
Chapter 11 Case being closed, dismissed, or converted to a case under chapter 7 of the
Bankruptcy Code.




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                                         ARTICLE III.

                      CLASSIFICATION AND TREATMENT OF
                    CLASSIFIED CLAIMS AND EQUITY INTERESTS

A.     Introduction

        All Claims and Equity Interests, except Administrative Claims and Priority Tax Claims,
are placed in the Classes set forth below in accordance with section 1123(a)(1) of the Bankruptcy
Code. The categories of Claims and Equity Interests listed below classify Claims and Equity
Interests for all purposes, including, without limitation, voting, Confirmation and distribution
pursuant to this Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. A
Claim or Equity Interest is in a particular Class only to the extent that any such Claim or Equity
Interest is Allowed in that Class and has not been paid, released or otherwise settled prior to the
Effective Date.

B.     Summary of Classification and Treatment of Classified Claims and Equity Interests

  Class                   Claim                         Status            Entitled to Vote?
 Class 1            Term Loan Claim                   Unimpaired        No (deemed to accept)
 Class 2           Secured Note Claim                  Impaired                  Yes
 Class 3          Other Secured Claims                Unimpaired        No (deemed to accept)
 Class 4        General Unsecured Claims              Unimpaired        No (deemed to accept)
             Equity Interests & Section 510(b)
 Class 5                                               Impaired         No (deemed to reject)
                          Claims

C.     Classification and Treatment of Claims and Equity Interests

       (i)     Class 1—Term Loan Claim

              (1)    Classification: Class 1 consists of the Term Loan Claim. The Term Loan
       Claim is hereby Allowed for all purposes in the aggregate amount of $2,000,000.00.

               (2)    Treatment: Except to the extent that JPMC agrees to a less favorable
       treatment or as otherwise provided herein, in full and final satisfaction, settlement,
       release, and discharge of and in exchange for the Allowed Term Loan Claim, on the
       Effective Date or as soon as reasonably practicable thereafter, the Allowed Term Loan
       Claim be converted into and deemed to be obligations under the Exit Facility Credit
       Agreement.

              (3)    Impairment and Voting: Class 1 is Unimpaired by this Plan. The Holder of
       the Allowed Term Loan Claim is conclusively presumed to have accepted this Plan
       pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the Holder of the
       Allowed Term Loan Claim is not entitled to vote to accept or reject this Plan.



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(ii)    Class 2—Secured Note Claim

       (1)    Classification: Class 2 consists of the Secured Note Claim. The Secured
Note Claim is hereby Allowed for all purposes in the amount of $167,130,687.38.

        (2)    Treatment: Except to the extent that JPMS agrees to a less favorable
treatment or as otherwise provided herein, in full and final satisfaction, settlement,
release, and discharge of and in exchange for the Allowed Secured Note Claim, on the
Effective Date or as soon as reasonably practicable thereafter, JPMS shall receive 100%
of the New Common Stock to be issued by the Reorganized Debtor.

        (3)     Impairment and Voting: Class 2 is Impaired by this Plan and JPMS is
entitled to vote to accept or reject this Plan.

(iii)   Class 3—Other Secured Claims

       (1)   Classification: Class 3 consists of all Other Secured Claims. All Other
Secured Claims are Allowed.

        (2)    Treatment: In full and final satisfaction, settlement, discharge and release
of, and in exchange for, each Other Secured Claim, on the Effective Date, at the option of
the Debtor, each Other Secured Claim shall be (i) paid in full in Cash, (ii) Unimpaired
and Reinstated or (iii) treated on such other terms as either the Debtor or the Reorganized
Debtor, as applicable, and the Holder(s) thereof may agree.

        (3)    Impairment and Voting: Class 3 is Unimpaired by this Plan. Each Holder
of an Other Secured Claim is conclusively presumed to have accepted this Plan pursuant
to section 1126(f) of the Bankruptcy Code. Therefore, each Holder of an Allowed Other
Secured Claim is not entitled to vote to accept or reject this Plan.

(iv)    Class 4—General Unsecured Claims

        (1)     Classification: Class 4 consists of all General Unsecured Claims.

         (2)     Treatment: Except to the extent that a Holder of an Allowed General
Unsecured Claim agrees to less favorable treatment, on or as soon as reasonably practicable
after the Effective Date, each Holder of an Allowed General Unsecured Claim shall receive,
in full and final satisfaction, settlement, release, and discharge of, and in exchange for, such
Allowed General Unsecured Claim, (A) payment in Cash in an amount equal to such
Allowed General Unsecured Claim on the later of (x) the Effective Date or (y) the date due in
the ordinary course of business in accordance with the terms and conditions of the particular
transaction or agreement giving rise to such Allowed General Unsecured Claim; or (B) such
other treatment as may be required so as to render such Allowed General Unsecured Claim
Unimpaired.

      (3)    Impairment and Voting: Class 4 is Unimpaired by this Plan. Each Holder
of a General Unsecured Claim is conclusively presumed to have accepted this Plan




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       pursuant to section 1126(f) of the Bankruptcy Code. Therefore, each Holder of a Allowed
       a General Unsecured Claim is not entitled to vote to accept or reject this Plan.

       (v)    Class 5—Equity Interests & Section 510(b) Claims

              (1)     Classification: Class 5 consists of all Equity Interests & Section 510(b)
       Claims.

               (2)    Treatment: On the Effective Date, all Equity Interests and Section 510(b)
       Claims shall be cancelled, and Holders of Equity Interests and Section 510(b) Claims
       shall receive no recovery under this Plan.

               (3)      Impairment and Voting: Class 5 is Impaired by this Plan, and each Holder
       of an Equity Interest and/or Section 510(b) Claim is conclusively deemed to have
       rejected this Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, each
       Holder of an Equity Interest and/or Section 510(b) Claim is not entitled to vote to accept
       or reject this Plan.

D.     Special Provisions Regarding Unimpaired Claims

       The Debtor, the Reorganized Debtor and any other Entity shall retain all defenses,
counterclaims, rights to setoff, and rights to recoupment, if any, as to Unimpaired Claims.
Holders of Unimpaired Claims shall not be required to file a proof of claim with the Bankruptcy
Court and shall retain all their rights under applicable non-bankruptcy law to pursue their
Unimpaired Claims in any forum with jurisdiction over the parties. Notwithstanding anything to
the contrary in this Plan, each Holder of an Allowed Other Secured Claim shall be entitled to
enforce its rights in respect of such Unimpaired Claim against the Debtor or the Reorganized
Debtor, as applicable, until such Unimpaired Claim has been either (a) paid in full (i) on terms
agreed to between the Holder of such Unimpaired Claim and the Debtor or the Reorganized
Debtor, as applicable, or (ii) in accordance with the terms and conditions of the applicable
documentation or laws giving rise to such Unimpaired Claim or (b) otherwise satisfied or
disposed of as determined by a court of competent jurisdiction. If the Debtor or the Reorganized
Debtor dispute any Unimpaired Claim, such dispute shall be determined, resolved or adjudicated
pursuant to applicable non-bankruptcy law.

E.     Subordinated Claims

       Pursuant to section 510 of the Bankruptcy Code, the Debtor or the Reorganized Debtor,
as applicable, reserve the right to re-classify any Allowed Claim in accordance with any
contractual, legal, or equitable subordination relating thereto.




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                                          ARTICLE IV.

                      ACCEPTANCE OR REJECTION OF THE PLAN

A.     Acceptance by Class Entitled to Vote

        Class 2 is the only Class of Claims of the Debtor that is entitled to vote to accept or reject
this Plan. Class 2 shall have accepted this Plan if JPMS votes to accept this Plan.

B.     Presumed Acceptance of the Plan

       Classes 1, 3 and 4 are Unimpaired by this Plan and are conclusively presumed to have
accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code.

C.     Deemed Rejection of the Plan

       Class 5 is Impaired by this Plan and is conclusively deemed to have rejected this Plan
pursuant to section 1126(g) of the Bankruptcy Code.

D.     Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code

        The Debtor may request Confirmation of this Plan under section 1129(b) of the
Bankruptcy Code with respect to any Impaired Class that does not accept this Plan pursuant to
section 1126 of the Bankruptcy Code. The Debtor, with the consent of the JPM Parties, reserves
the right to modify this Plan or the Disclosure Statement to satisfy the requirements of section
1129(b) of the Bankruptcy Code, if necessary.




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                                          ARTICLE V.

                    MEANS FOR IMPLEMENTATION OF THIS PLAN

A.     Corporate and Organizational Existence; Reorganized Capital Structure and the
       New Common Stock

        Except as otherwise provided in this Plan, the Debtor shall continue to exist after the
Effective Date as a corporate Entity, with all the powers of a corporation pursuant to the laws of
the State of Delaware and pursuant to its certificate of incorporation and bylaws in effect prior to
the Effective Date, as amended by this Plan, the Plan Supplement, or otherwise and as set forth
in the Amended Certificate of Incorporation and the Amended By-Laws.

       On the Effective Date, the new capital structure of the Reorganized Debtor shall consist
of the Exit Facility and the New Common Stock. The rights, priorities and restrictions with
respect to the New Common Stock shall be governed by the Amended Certificate of
Incorporation and the Amended By-Laws.

B.     Organizational Documents of the Reorganized Debtor

        On the Effective Date, pursuant to this Plan, the Amended By-Laws and Amended
Certificate of Incorporation shall become effective and be deemed to amend and restate the
Debtor’s existing certificate or articles of incorporation and by-laws and each holder of New
Common Stock shall be automatically deemed a party thereto and bound thereby in accordance
with the terms of the Amended By-Laws and Amended Certificate of Incorporation. To the
extent necessary, the organizational documents of the Reorganized Debtor will (i) include,
among other things, pursuant to section 1123(a)(6) of the Bankruptcy Code, a provision
prohibiting the issuance of non-voting equity securities, but only to the extent required by section
1123(a)(6) of the Bankruptcy Code, and (ii) to the extent necessary or appropriate, include such
provisions as may be needed to effectuate and consummate this Plan and the transactions
contemplated herein. After the Effective Date, the Reorganized Debtor may amend and restate
the Amended By-Laws, Amended Certificate of Incorporation, and other applicable
organizational documents, as permitted by applicable law and pursuant to the terms contained
therein.

C.     Directors and Officers of Reorganized Debtor; Corporate Governance

        The New Board shall be selected by JPMS, in its capacity as Holder of the Allowed
Secured Note Claim, in accordance with the Amended By-Laws and Amended Certificate of
Incorporation, effective as of the Effective Date. To the extent not previously disclosed, the
Debtor will disclose prior to or at the Confirmation Hearing, the affiliations of each Person
proposed to serve on the New Board or as an officer of the Reorganized Debtor, and, to the
extent such Person is an insider other than by virtue of being a manager, director or officer, the
nature of any compensation for such Person.




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D.     Issuance of New Securities and Related Documents

       On the Effective Date, the Reorganized Debtor will be authorized to, and will, issue and
execute, as applicable, the New Common Stock and related documents, without further notice to
or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or
the vote, consent, authorization or approval of any Entity subject to the terms of this Plan, the
Amended By-Laws and Amended Certificate of Incorporation.

       The issuance and distribution of the New Common Stock will be made in reliance on the
exemption from registration under the Securities Act provided by section 1145(a) of the
Bankruptcy Code, or section 4(a)(2) of the Securities Act or Regulation D promulgated
thereunder, in each case to the extent applicable, and will be exempt from registration under
applicable securities laws.

E.     Restructuring Transactions

        Prior to, on, or after the Effective Date, and pursuant to this Plan, the Debtor, and/or the
Reorganized Debtor, as applicable, shall implement the Restructuring Transactions. The Debtor
and/or the Reorganized Debtor, as applicable, shall take any actions, as agreed to by the JPM
Parties, as may be necessary or appropriate to effect a restructuring of the Debtor’s business or
the overall organization or capital structure consistent with the terms of this Plan. All matters
provided for pursuant to this Plan that would otherwise require approval of the equity holders,
directors or officers of the Debtor (as of or prior to the Effective Date) will be deemed to have
been so approved and will be in effect prior to, on or after the Effective Date (as appropriate)
pursuant to applicable law, the provisions of the Amended By-Laws and Amended Certificate of
Incorporation, and without any requirement of further action by the equity holders, managing
members, members, managers, directors, or officers of the Debtor, or the need for any approvals,
authorizations, actions or consents of any Person.

F.     Vesting of Assets in the Reorganized Debtor

        Except as provided elsewhere in this Plan, or in the Confirmation Order, on or after the
Effective Date, all property and assets of the Estate, including without limitation, (a) all of the
Subsidiary Interests, (b) all Causes of Action and Avoidance Actions, but only to the extent such
Causes of Action and Avoidance Actions have not been waived or released pursuant to the terms
of this Plan, pursuant to an order of the Bankruptcy Court, or otherwise, (c) NOLs and other
similar tax attributes, and any property and assets acquired by the Debtor pursuant to this Plan,
will vest in the Reorganized Debtor, free and clear of all Liens or Claims.

        Except as may be otherwise provided in this Plan, on and after the Effective Date, the
Reorganized Debtor may operate its business and may use, acquire or dispose of property and
compromise or settle any Claims without supervision or approval by the Bankruptcy Court and
free of any restrictions of the Bankruptcy Code or Bankruptcy Rules, other than those restrictions
expressly imposed by this Plan, the Confirmation Order, the Amended By-Laws or the Amended
Certificate of Incorporation.




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G.     Release of Liens, Claims and Equity Interests

        Except as otherwise provided in this Plan (and, in particular, Articles III(C)(iii) and
III(C)(iv)) or in any contract, instrument, release or other agreement or document entered into or
delivered in connection with this Plan, concurrently with the applicable distributions made
pursuant to this Plan, all Liens, Claims, or Equity Interests in or against the property of the Estate
will be fully released, terminated, extinguished and discharged, in each case without further
notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order,
or rule or the vote, consent, authorization or approval of any Entity. Any Entity holding such
Liens, Claims, or Equity Interests will, if necessary, pursuant to section 1142 of the Bankruptcy
Code, promptly execute and deliver to the Reorganized Debtor such instruments of termination,
release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by
the Reorganized Debtor and shall incur no liability to any Entity in connection with its execution
and delivery of any such instruments.

H.     Cancellation of Stock, Certificates, Instruments and Agreements

       On the Effective Date, all stock, units, instruments, certificates, agreements and other
documents evidencing the Equity Interests will be cancelled, and the obligations of the Debtor
thereunder or in any way related thereto will be fully released, terminated, extinguished and
discharged, in each case without further notice to or order of the Bankruptcy Court, act or action
under applicable law, regulation, order, or rule or any requirement of further action, vote or other
approval or authorization by any Person.

I.     Corporate Action

        Each of the matters provided for under this Plan involving the corporate structure of the
Debtor or any corporate action to be taken by or required of the Debtor or Reorganized Debtor
shall be deemed to have occurred and be effective as provided herein, and shall be authorized,
approved, and, to the extent taken prior to the Effective Date, ratified in all respects without any
requirement of further action by shareholders, creditors or directors of the Debtor or the
Reorganized Debtor, as applicable. To the extent permitted by applicable law the authorizations
and approvals contemplated by this Article V.I shall be effective notwithstanding any
requirements under nonbankruptcy law.

J.     Preservation and Maintenance of Debtor Causes of Action

       (i)     Maintenance of Causes of Action

        In accordance with section 1123(b) of the Bankruptcy Code, except as otherwise
provided in Article X or elsewhere in this Plan or the Confirmation Order, or in any contract,
instrument, release, or other agreement entered into in connection with this Plan, on and after the
Effective Date, the Reorganized Debtor (and only the Reorganized Debtor) shall retain any and
all rights to commence, pursue, litigate or settle, as appropriate, any and all Causes of Action,
whether existing as of the Petition Date or thereafter arising, in any court or other tribunal
including in an adversary proceeding filed in the Chapter 11 Case.




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       (ii)    Preservation of All Causes of Action Not Expressly Settled or Released

        Unless a Cause of Action against a Holder of a Claim or an Equity Interest or other Entity
is (A) expressly waived, relinquished, released, compromised or settled in this Plan (including,
and for the avoidance of doubt, the releases contained in Article X of this Plan) or any Final
Order (including the Confirmation Order), or (B) subject to the discharge and injunction
provisions in Article X of this Plan, and the Confirmation Order, in the case of each of clauses
(A) and (B), the Debtor and the Reorganized Debtor, as applicable, expressly reserve such Cause
of Action for later adjudication and, therefore, no preclusion doctrine, including the doctrines of
res judicata, collateral estoppel, issue preclusion, claim preclusion, waiver, estoppel (judicial,
equitable or otherwise) or laches will apply to such Causes of Action upon or after the
Confirmation of this Plan or the Effective Date of this Plan based on this Plan or the
Confirmation Order. No Entity may rely on the absence of a specific reference in this Plan, or the
Disclosure Statement to any Causes of Action against it as any indication that the Debtor or the
Reorganized Debtor will not pursue any and all available Causes of Action against it. The Debtor
and the Reorganized Debtor, as applicable, expressly reserve all rights to prosecute any and all
Causes of Action against any Entity, except as otherwise expressly provided in this Plan.

K.     Exemption from Certain Transfer Taxes

        Pursuant to, and to the fullest extent permitted by, section 1146(a) of the Bankruptcy
Code, any transfers or mortgages from or by the Debtor to the Reorganized Debtor or any other
Person or entity pursuant to this Plan shall not be subject to any document recording tax, stamp
tax, conveyance fee, intangibles or similar tax, mortgage tax, stamp act, real estate transfer tax,
sales or use tax, mortgage recording tax, or other similar tax or governmental assessment, and the
Confirmation Order shall direct the appropriate state or local governmental officials or agents to
forego the collection of any such tax or governmental assessment and to accept for filing and
recordation any of the foregoing instruments or other documents without the payment of any
such tax or governmental assessment. Such exemption under section 1146(a) of the Bankruptcy
Code specifically applies, without limitation, to (1) the creation of any mortgage, deed of trust,
Lien, or other security interest; (2) the making or assignment of any lease or sublease; (3) any
Restructuring Transaction; (4) the issuance, distribution, and/or sale of any of the New Common
Stock and any other securities of the Debtor or the Reorganized Debtor; or (5) the making or
delivery of any deed or other instrument of transfer under, in furtherance of or in connection with
this Plan, including: (a) any merger agreements; (b) agreements of consolidation, restructuring,
disposition, liquidation, or dissolution; (c) deeds; (d) bills of sale; or (e) assignments executed in
connection with any Restructuring Transaction occurring under this Plan.

L.     Distributions

        Except as otherwise provided in this Plan or the Confirmation Order, all Cash necessary
for the Debtor or Reorganized Debtor to make payments required pursuant to this Plan will be
paid from the Cash balances of the Debtor or the Reorganized Debtor, as applicable. Cash
payments to be made pursuant to this Plan will be made by the Reorganized Debtor, as
applicable, or any designated Affiliates of the Reorganized Debtor on its behalf.




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                                         ARTICLE VI.

                      TREATMENT OF EXECUTORY CONTRACTS
                            AND UNEXPIRED LEASES

A.     Rejection of Executory Contracts and Unexpired Leases

        (i)    Automatic Rejection. Except as otherwise provided herein, each Executory
Contract and Unexpired Lease shall be deemed automatically rejected pursuant to sections 365
and 1123 of the Bankruptcy Code as of the Effective Date, unless any such Executory Contract
or Unexpired Lease: (i) is listed on the Schedule of Assumed Executory Contracts and Unexpired
Leases; (ii) has been previously assumed or rejected by the Debtor by Final Order of the
Bankruptcy Court or has been assumed by the Debtor by order of the Bankruptcy Court as of the
Effective Date, which order becomes a Final Order after the Effective Date; (iii) is the subject of
a motion to assume pending as of the Effective Date; or (iv) is otherwise assumed pursuant to the
terms herein.

        The Confirmation Order will constitute an order of the Bankruptcy Court approving such
rejections pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.
Counterparties to Executory Contracts or Unexpired Leases that are deemed rejected as of the
Effective Date shall have the right to assert any Claim on account of the rejection of such
Executory Contracts or Unexpired Leases, including under section 502(g) of the Bankruptcy
Code, subject to compliance with the requirements of this Plan.

       (ii)    Claims Procedures Related to Rejection of Executory Contracts or Unexpired
Leases. Unless otherwise provided by a Bankruptcy Court order, any proofs of Claim asserting
Claims arising from the rejection of the Executory Contracts and Unexpired Leases pursuant to
the Plan or otherwise must be filed no later than thirty (30) days after the later of the Effective
Date or the effective date of rejection. Any proofs of Claim arising from the rejection of the
Executory Contracts or Unexpired Leases that are not timely filed shall be disallowed
automatically and forever barred, estopped, and enjoined from assertion and shall not be
enforceable against the Debtor or the Reorganized Debtor, without the need for any objection by
the Reorganized Debtor or any further notice to or action, order, or approval of the Bankruptcy
Court, and any Claim arising out of the rejection of the Executory Contract or Unexpired Lease
shall be deemed fully satisfied, released, and discharged, notwithstanding anything in the
Schedules or a proof of Claim to the contrary. All Allowed Claims arising from the rejection of
the Executory Contracts and Unexpired Leases shall be classified as General Unsecured Claims.

B.     Assumption of Executory Contracts and Unexpired Leases; Cure of Defaults

        (i)     Upon the occurrence of the Effective Date, each Executory Contract or Unexpired
Lease (other than Executory Contracts or Unexpired Leases that (a) has been previously rejected
by the Debtor by Final Order of the Bankruptcy Court or has been rejected by the Debtor by
order of the Bankruptcy Court as of the Effective Date, which order becomes a Final Order after
the Effective Date or (b) is the subject of a motion to reject pending as of the Effective Date)
listed on the Schedule of Assumed Executory Contracts and Unexpired Leases, which is attached
to this Plan as Exhibit A, shall be assumed, or assumed and assigned, as applicable, and shall


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vest in and be fully enforceable by the Reorganized Debtor or its assignee in accordance with
such contract or lease’s terms, except as modified by the provisions of this Plan or any order of
the Bankruptcy Court authorizing or providing for its assumption or applicable federal law.

        (ii)   Any monetary defaults under each Executory Contract or Unexpired Lease to be
assumed pursuant to this Plan will be satisfied, pursuant to section 365(b)(1) of the Bankruptcy
Code, by payment of the applicable Cure amount in Cash, on the later of (1) the Effective Date
and (2) the date such payment is due pursuant to the terms of the assumed Executory Contract or
Unexpired Lease, as applicable, in the amount set forth on the Schedule of Assumed Executory
Contracts and Unexpired Leases, which is attached to this Plan as Exhibit A, or on such other
terms as the parties to such Executory Contract or Unexpired Lease may otherwise agree.

        Any objection by a counterparty to the Cure amount associated with any Executory
Contract or Unexpired Lease to be assumed pursuant to this Plan must be filed, served and
actually received by the Debtor by no later than seven (7) days prior to the date of the
Confirmation Hearing. Any counterparty to an Executory Contract and Unexpired Lease that
fails to object timely to the proposed assumption or Cure amount will be deemed to have
assented thereto and will be deemed to have forever released and waived any objection to the
proposed assumption or Cure amount. In the event of a dispute regarding (1) the Cure amount,
(2) the ability of the Reorganized Debtor to provide “adequate assurance of future performance”
(within the meaning of section 365 of the Bankruptcy Code) under the Executory Contract or
Unexpired Lease to be assumed or (3) any other matter pertaining to assumption, the applicable
Cure payments required by section 365(b)(1) of the Bankruptcy Code will be made following the
entry of a Final Order or orders resolving the dispute and approving the assumption. Any proof
of claim filed with respect to an Executory Contract or Unexpired Lease that is assumed
shall be deemed disallowed and expunged, without further notice to or action, order or
approval of the Bankruptcy Court.

C.     Assumption of Insurance Policies

        Notwithstanding anything in this Plan to the contrary, each of the Debtor’s insurance
policies and any agreements, documents, or instruments relating thereto, are treated as and
deemed to be Executory Contracts under this Plan. On the Effective Date, pursuant to section
365(a) of the Bankruptcy Code, the Debtor shall be deemed to have assumed all insurance
policies and any agreements, documents, and instruments related thereto, including all D&O
Liability Insurance Policies (including any obligations to obtain tail coverage liability insurance
due to the change in control triggered on the Effective Date). Entry of the Confirmation Order
will constitute the Bankruptcy Court’s approval of the Debtor’s assumption of, and assignment
to, the Reorganized Debtor of all such insurance policies, including the D&O Liability Insurance
Policies. Notwithstanding anything to the contrary contained in this Plan, Confirmation shall not
discharge, impair, or otherwise modify any indemnity obligations assumed by the foregoing
assumption of insurance policies, including the D&O Liability Insurance Policies, and each such
indemnity obligation will be deemed and treated as an Executory Contract that has been assumed
and assigned by the Debtor to the Reorganized Debtor under this Plan as to which no proof of
claim need be filed, and shall survive the Effective Date.




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        After the Effective Date, the Reorganized Debtor shall not terminate or otherwise reduce,
modify or restrict in any way, the coverage under any D&O Liability Insurance Policy (including
such tail coverage liability insurance) in effect as of the Effective Date, and all directors and
officers of the Debtor who served in such capacity as of the Petition Date shall be entitled to the
full benefits of any such policy for the full term of such policy (and all tail coverage related
thereto) regardless of whether such directors and/or officers remain in such positions after the
Effective Date.

D.     Indemnification

        The indemnification provisions in any Indemnification Agreement with respect to or
based upon any act or omission taken or omitted by an indemnified party in such indemnified
party’s capacity under such Indemnification Agreement will be Reinstated (or assumed, as the
case may be) and will survive effectiveness of this Plan; provided, however, that nothing in this
Article VI.D of the Plan shall (i) reinstate any Claim against the Debtor which has been released
or discharged in any contract, instrument, release or other agreement or document entered into
or delivered prior to the Petition date, or (ii) provide for the assumption of any indemnification
agreement not expressly assumed pursuant to this Plan.

E.     Reservation of Rights

        Nothing contained in this Plan shall constitute an admission by the Debtor, Reorganized
Debtor, or any other party that any contract or lease is in fact an Executory Contract or
Unexpired Lease or that the Debtor or Reorganized Debtor have any liability thereunder. If there
is a dispute regarding whether a contract or lease is or was executory or unexpired at the time of
assumption, the Debtor or Reorganized Debtor, as applicable, shall have thirty (30) calendar days
following entry of a Final Order resolving such dispute to alter their treatment of such contract or
lease, including by rejecting such contract or lease nunc pro tunc to the Confirmation Date.




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                                        ARTICLE VII.

                      PROVISIONS GOVERNING DISTRIBUTIONS

A.     Distribution Record Date

       Distributions hereunder to the Holders of Allowed Claims shall be made to the Holders of
such Claims as of the Distribution Record Date. Any transfers of Claims after the Distribution
Record Date shall not be recognized for purposes of this Plan unless otherwise provided herein.

B.     Dates of Distributions

        Except as otherwise provided in this Plan, on the Effective Date (or if a Claim is not an
Allowed Claim on the Effective Date, on the date that such Claim becomes an Allowed Claim, or
as soon as reasonably practicable thereafter), each Holder of an Allowed Claim shall receive the
distributions that this Plan provides for Allowed Claims in the applicable Class and in the
manner provided herein. In the event that any payment or act under this Plan is required to be
made or performed on a date that is not on a Business Day, then the making of such payment or
the performance of such act may be completed on the next succeeding Business Day, but shall be
deemed to have been completed as of the required date. Except as otherwise provided in this
Plan, Holders of Allowed Claims shall not be entitled to interest, dividends or accruals on the
distributions provided for therein, regardless of whether distributions are delivered on or at any
time after the Effective Date.

C.     Distribution Agent

        Except as otherwise provided in this Plan, all distributions under this Plan shall be made
by the Distribution Agent. The Distribution Agent shall be empowered to (a) effect all actions
and execute all agreements, instruments, and other documents necessary to perform its duties
under this Plan, (b) make all distributions contemplated hereby, (c) empower professionals to
represent it with respect to its responsibilities, and (d) exercise such other powers as are
necessary and proper to implement the provisions hereof. If the Distribution Agent is an entity
other than the Reorganized Debtor, such entity shall be paid its reasonable fees and expenses,
including the reasonable fees and expenses of its attorneys or other professionals.

D.     Cash Distributions

        Distributions of Cash may be made either by check drawn on a domestic bank or wire
transfer from a domestic bank, at the option of the Reorganized Debtor.

E.     Allocation Between Principal and Interest

        Distributions to any Holder of an Allowed Claim shall be allocated first to the principal
amount of any such Allowed Claim, and then, to the extent the consideration exceeds such
amount, to the remainder of such Claim comprising interest accrued through the Effective Date,
if any (but solely to the extent that interest is an allowable portion of such Allowed Claim).




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F.     Withholding Taxes

        Pursuant to section 346(f) of the Bankruptcy Code, the Reorganized Debtor shall comply
with all withholding and reporting requirements imposed by federal, state or local taxing
authorities and shall be entitled to deduct any federal, state or local withholding taxes from any
distributions made with respect to Allowed Claims, as appropriate. From and as of the Effective
Date, the Reorganized Debtor shall comply with all reporting obligations imposed on it by any
Governmental Unit in accordance with applicable law with respect to such withholding taxes.
Notwithstanding any provision in this Plan to the contrary, the Reorganized Debtor shall be
authorized to take all actions necessary or appropriate to comply with such withholding and
reporting requirements, including liquidating a portion of the distribution to be made under this
Plan to generate sufficient funds to pay applicable withholding taxes, withholding distributions
pending receipt of information necessary to facilitate such distributions or establishing any other
mechanisms they believe are reasonable and appropriate. As a condition to receiving any
distribution under this Plan, the Reorganized Debtor may require that the Holder of an Allowed
Claim entitled to receive a cash distribution pursuant to this Plan provide such Holder’s taxpayer
identification number and such other information and certification as may be deemed necessary
for the Reorganized Debtor to comply with applicable tax reporting and withholding laws.
Notwithstanding the foregoing, each Holder of an Allowed Claim that is to receive a distribution
hereunder shall have the sole and exclusive responsibility for the satisfaction and payment of any
tax obligations imposed by any Governmental Unit, including income, withholding and other tax
obligations, on account of such distribution.

G.     Surrender of Canceled Instruments or Securities

        Except as otherwise provided herein, as a condition precedent to receiving any
distribution on account of its Allowed Claim, the Holder of the Allowed Claim in the Voting
Class based upon an instrument or other security shall be deemed to have surrendered such
instrument, security or other documentation underlying such Claim and all such surrendered
instruments, securities and other documentation shall be deemed canceled pursuant to Article
V.L of this Plan.




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                                         ARTICLE VIII.

                CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

A.     Conditions Precedent to the Effective Date

       Effectiveness of this Plan is subject to the satisfaction of each of the following conditions
precedent:

        (i)     The Plan Supplement and all of the schedules, documents, and exhibits contained
therein shall have been filed and shall be reasonably acceptable to the JPM Parties; and

        (ii)  the Bankruptcy Court shall have entered the Confirmation Order, which shall be
in form and substance acceptable to the Debtor and the JPM Parties, and the Confirmation Order
shall, among other things, provide that the Debtor and the Reorganized Debtor are authorized to
take all actions necessary or appropriate to enter into, implement, and consummate the
agreements and documents created in connection with this Plan;

       (iii)   the Professional Fee Escrow shall have been funded;

        (iv)   all governmental and third-party approvals and consents, including Bankruptcy
Court approval, necessary in connection with the transactions contemplated by this Plan shall
have been obtained, not be subject to unfulfilled conditions, and be in full force and effect, and
all applicable waiting periods shall have expired without any action being taken or threatened by
any competent authority that would restrain, prevent, or otherwise impose materially adverse
conditions on such transactions; and

        (v)     all documents and agreements necessary to implement this Plan shall have
(i) been tendered for delivery and (ii) been effected or executed by all Entities party thereto, and
all conditions precedent to the effectiveness of such documents and agreements shall have been
satisfied or waived pursuant to the terms of such documents or agreements.

B.     Waiver of Conditions

       The conditions to the Effective Date of this Plan set forth in this Article VIII may be
waived only if waived in writing by the Debtor, with the reasonable consent of the JPM Parties;
provided, that the condition requiring that the Confirmation Order shall have been entered by the
Bankruptcy Court may not be waived.




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                                          ARTICLE IX.

                              RETENTION OF JURISDICTION

A.     Retention of Jurisdiction

        Pursuant to sections 105(c) and 1142 of the Bankruptcy Code and notwithstanding the
entry of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court
shall, after the Effective Date, retain such jurisdiction over the Chapter 11 Case and all Entities
with respect to all matters related to the Chapter 11 Case, the Debtor and this Plan as is legally
permissible, including jurisdiction to:

        (i)    allow, disallow, determine, liquidate, classify, estimate or establish the priority or
secured or unsecured status of any Claim or Equity Interest, including the resolution of any
request for payment of any Administrative Claim and the resolution of any and all objections to
the allowance or priority of any Claim;

       (ii)    grant or deny any applications for allowance of Professional Fee Claims;

      (iii) resolve any matters related to the assumption of any Executory Contract or
Unexpired Lease to which the Debtor is party;

       (iv)    resolve any issues related to any matters adjudicated in the Chapter 11 Case;

        (v)    ensure that distributions to Holders of Allowed Claims are accomplished pursuant
to the provisions of this Plan;

        (vi)    decide or resolve any motions, adversary proceedings, contested or litigated
matters and any other Causes of Action that are pending or that may be commenced in the
Chapter 11 Case as of the Effective Date, and grant or deny any applications involving the
Debtor that may be pending on the Effective Date or instituted by the Reorganized Debtor after
the Effective Date; provided, that the Reorganized Debtor shall reserve the right to commence
actions in all appropriate forums and jurisdictions;

        (vii) resolve any cases, controversies, suits or disputes that may arise in connection
with the consummation, interpretation or enforcement of this Plan, the Confirmation Order, and
all orders previously entered into by the Bankruptcy Court, or any Entity’s obligations incurred
in connection with this Plan;

       (viii) issue and enforce injunctions, enter and implement other orders or take such other
actions as may be necessary or appropriate to restrain interference by any Entity with
consummation or enforcement of this Plan;

       (ix)    enforce the terms and condition of this Plan and the Confirmation Order;

       (x)     resolve any cases, controversies, suits or disputes with respect to the releases, the
exculpations, the indemnification provisions and other provisions contained in Article X hereof
and enter such orders or take such others actions as may be necessary or appropriate to


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implement, enforce, or determine the scope of all such releases, exculpations, injunctions and
other provisions;

       (xi)    enter and implement such orders or take such others actions as may be necessary
or appropriate if the Confirmation Order is modified, stayed, reversed, revoked or vacated;

       (xii) resolve any cases, controversies, suits or disputes that may arise in connection
with or relate to this Plan, the Disclosure Statement, the Confirmation Order, or any contract,
instrument, release, indenture or other agreement or document adopted or entered into in
connection with this Plan or the Disclosure Statement;

       (xiii) consider any modifications of this Plan, to cure any defect or omission, or to
reconcile any inconsistency in any order previously entered by the Bankruptcy Court, including
the Confirmation Order;

       (xiv) hear and determine matters concerning state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

       (xv)    hear any other matter not inconsistent with the Bankruptcy Code; and

       (xvi)   enter an order closing the Chapter 11 Case.

As of the Effective Date, notwithstanding anything in this Article IX to the contrary, the
Amended By-Laws and Amended Certificate of Incorporation shall be governed by the
respective jurisdictional provisions therein.

B.     Failure of Bankruptcy Court to Exercise Jurisdiction

        If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or
is otherwise without jurisdiction over any matter, including the matters set forth in Article IX.A
of this Plan, the provisions of this Article IX shall have no effect upon and shall not control,
prohibit, or limit the exercise of jurisdiction by any other court having jurisdiction with respect to
such matter.




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                                           ARTICLE X.

                               EFFECTS OF CONFIRMATION

A.     General Settlement of Claims

        Pursuant to section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy Rule 9019
and in consideration for the distributions and other benefits provided pursuant to this Plan, the
provisions of this Plan shall constitute a good faith compromise of all Claims and controversies
relating to the contractual, legal, and subordination rights that a Holder of a Claim may have with
respect to any Allowed Claim, or any distribution to be made on account of such Allowed Claim.
The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, as of the
Effective Date, of the compromise or settlement of all such Claims and controversies, as well as
a finding by the Bankruptcy Court that such compromise or settlement is in the best interests of
the Debtor, its Estate, the Reorganized Debtor and Holders of Claims and is fair, equitable, and
reasonable.

B.     Binding Effect

     ON THE EFFECTIVE DATE, AND EFFECTIVE AS OF THE EFFECTIVE
DATE, THIS PLAN WILL BIND, AND WILL BE DEEMED BINDING UPON, ALL
HOLDERS OF CLAIMS AGAINST AND EQUITY INTERESTS IN THE DEBTOR, AND
EACH HOLDER’S RESPECTIVE SUCCESSORS AND ASSIGNS, TO THE MAXIMUM
EXTENT PERMITTED BY APPLICABLE LAW, NOTWITHSTANDING WHETHER
OR NOT ANY SUCH HOLDER (I) WILL RECEIVE OR RETAIN ANY PROPERTY OR
INTEREST IN PROPERTY UNDER THIS PLAN, (II) HAS FILED A PROOF OF
CLAIM OR EQUITY INTEREST IN THE CHAPTER 11 CASE OR (III) FAILED TO
VOTE TO ACCEPT OR REJECT THIS PLAN OR AFFIRMATIVELY VOTED TO
REJECT THIS PLAN.

C.     Discharge of the Debtor

        To the fullest extent provided under section 1141(d)(1)(A) and other applicable
provisions of the Bankruptcy Code, except as otherwise expressly provided by this Plan or the
Confirmation Order, and effective as of the Effective Date: (i) the rights afforded herein and the
treatment of all Claims and Equity Interests herein will be in exchange for and in complete
satisfaction, settlement, discharge, and release of all Claims and Equity Interests of any nature
whatsoever, including any interest accrued on such Claims from and after the Petition Date,
against the Debtor or any of its assets, property, or Estate; (ii) this Plan will bind all Holders of
Claims and Equity Interests, notwithstanding whether any such Holders abstained from voting to
accept or reject this Plan or voted to reject this Plan; (iii) all Claims and Equity Interests will be
satisfied, discharged, and released in full, and the Debtor’s liability with respect thereto will be
extinguished completely, including any liability of the kind specified under section 502(g),
502(h) or 502(i) of the Bankruptcy Code; and (iv) except as otherwise expressly provided for in
this Plan, all Entities will be precluded from asserting against, derivatively on behalf of, or
through, the Debtor, the Debtor’s Estate, the Reorganized Debtor, each of their successors and
assigns, and each of their assets and properties, any other Claims or Equity Interests based upon


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any documents, instruments or any act or omission, transaction, or other activity of any kind or
nature that occurred prior to the Effective Date.

D.     Exculpation and Limitation of Liability

         To the maximum extent permitted under applicable non-bankruptcy law, the Exculpated
Parties will neither have nor incur any liability to any Entity for any claims or Causes of Action
arising before, on or after the Petition Date and prior to or on the Effective Date for any act taken
or omitted to be taken in connection with, or related to formulating, negotiating, preparing,
filing, disseminating, implementing, administering, confirming or effecting the consummation of
the Chapter 11 Case, this Plan, the Disclosure Statement, the Amended By-Laws and Amended
Certificate of Incorporation, or any other contract, instrument, release or other agreement or
document created or entered into in connection with this Plan, or any other prepetition or
postpetition act taken or omitted to be taken in connection with or in contemplation of the
restructuring of the Debtor, the approval of the Disclosure Statement, or Confirmation or
consummation of this Plan; provided, however, that the foregoing provisions will have no effect
on the liability of any Entity that results from any such act or omission that is determined in a
Final Order of the Bankruptcy Court or other court of competent jurisdiction to have constituted
fraud, gross negligence, or willful misconduct, but in all respects each Exculpated Party shall be
entitled to rely upon the advice of counsel concerning his, her or its duties pursuant to, or in
connection with, this Plan.

E.     Releases by the Debtor

     NOTWITHSTANDING ANYTHING CONTAINED HEREIN TO THE
CONTRARY, EFFECTIVE AS OF THE EFFECTIVE DATE AND TO THE FULLEST
EXTENT PERMITTED BY APPLICABLE LAW, FOR GOOD AND VALUABLE
CONSIDERATION PROVIDED BY EACH OF THE RELEASED PARTIES, THE
ADEQUACY OF WHICH IS HEREBY CONFIRMED, THE DEBTOR AND ITS
ESTATE SHALL BE DEEMED TO HAVE CONCLUSIVELY, ABSOLUTELY,
UNCONDITIONALLY, IRREVOCABLY AND FOREVER, RELEASED AND
DISCHARGED THE RELEASED PARTIES FROM ANY AND ALL CLAIMS, EQUITY
INTERESTS, OBLIGATIONS, RIGHTS, SUITS, DAMAGES, CAUSES OF ACTION,
REMEDIES, AND LIABILITIES WHATSOEVER, INCLUDING ANY DERIVATIVE
CLAIMS, WHETHER KNOWN OR UNKNOWN, ASSERTED OR UNASSERTED,
FORESEEN OR UNFORESEEN, EXISTING OR HEREINAFTER ARISING, IN LAW,
EQUITY, OR OTHERWISE, WHETHER FOR TORT, FRAUD, CONTRACT,
VIOLATIONS OF FEDERAL OR STATE LAWS OR OTHERWISE, INCLUDING
AVOIDANCE ACTIONS, THOSE CAUSES OF ACTION BASED ON VEIL PIERCING
OR    ALTER-EGO     THEORIES     OF     LIABILITY, CONTRIBUTION,
INDEMNIFICATION, JOINT LIABILITY OR OTHERWISE THAT THE DEBTOR OR
THE DEBTOR’S ESTATE WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT
(WHETHER INDIVIDUALLY OR COLLECTIVELY), BASED ON OR RELATING TO,
OR IN ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTOR,
THE DEBTOR’S RESTRUCTURING, THE RESTRUCTURING TRANSACTIONS, THE
CHAPTER 11 CASE, THE SUBJECT MATTER OF, OR THE TRANSACTIONS OR
EVENTS GIVING RISE TO, ANY CLAIM OR EQUITY INTEREST THAT IS


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TREATED IN THIS PLAN, THE BUSINESS OR CONTRACTUAL ARRANGEMENTS
BETWEEN THE DEBTOR AND ANY RELEASED PARTY, THE RESTRUCTURING
OF CLAIMS AND EQUITY INTERESTS PRIOR TO OR DURING THE CHAPTER 11
CASE, THE NEGOTIATION, FORMULATION, OR PREPARATION OF THIS PLAN,
THE DISCLOSURE STATEMENT, OR ANY RELATED AGREEMENTS,
INSTRUMENTS, OR OTHER DOCUMENTS, THE PURSUIT OF CONFIRMATION,
ANY ACTION OR ACTIONS TAKEN IN FURTHERANCE OF OR CONSISTENT
WITH THE ADMINISTRATION OR IMPLEMENTATION OF THIS PLAN OR THE
DISTRIBUTION OF THE NEW COMMON STOCK AND RELATED DOCUMENTS OR
OTHER PROPERTY UNDER THIS PLAN, UPON ANY OTHER ACT OR OMISSION,
TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE TAKING
PLACE ON OR BEFORE THE EFFECTIVE DATE ARISING FROM OR RELATING
TO ANY OF THE FOREGOING, OTHER THAN CLAIMS OR LIABILITIES ARISING
OUT OF OR RELATING TO ANY ACT OR OMISSION OF A RELEASED PARTY
THAT CONSTITUTES ACTUAL FRAUD, WILLFUL MISCONDUCT, OR GROSS
NEGLIGENCE; PROVIDED, HOWEVER, THAT THE FOREGOING PROVISIONS OF
THIS RELEASE (I) SHALL OPERATE TO WAIVE AND RELEASE ONLY THOSE
CAUSES OF ACTION EXPRESSLY SET FORTH IN AND RELEASED BY THIS PLAN
AND (II) SHALL NOT OPERATE TO WAIVE AND RELEASE THE RIGHTS OF THE
DEBTOR OR THE REORGANIZED DEBTOR TO ENFORCE THIS PLAN, THE
CONFIRMATION ORDER, THE ISSUANCE OF THE NEW COMMON STOCK OR
ANY RELATED AGREEMENTS, INSTRUMENTS AND OTHER DOCUMENTS
DELIVERED UNDER OR IN CONNECTION WITH THIS PLAN OR ASSUMED OR
REINSTATED PURSUANT TO THIS PLAN OR FINAL ORDER OF THE
BANKRUPTCY COURT.

F.   Releases by Holders of Claims

     NOTWITHSTANDING ANYTHING CONTAINED HEREIN TO THE
CONTRARY, EFFECTIVE AS OF THE EFFECTIVE DATE AND TO THE FULLEST
EXTENT PERMITTED BY APPLICABLE LAW, FOR GOOD AND VALUABLE
CONSIDERATION PROVIDED BY THE DEBTOR AND ITS ESTATE AND THE
RELEASED PARTIES, THE ADEQUACY OF WHICH IS HEREBY CONFIRMED,
EACH OF THE RELEASING PARTIES SHALL BE DEEMED TO HAVE
CONCLUSIVELY, ABSOLUTELY, UNCONDITIONALLY, IRREVOCABLY AND
FOREVER, RELEASED AND DISCHARGED THE DEBTOR AND ITS ESTATE AND
THE RELEASED PARTIES FROM ANY AND ALL CLAIMS, EQUITY INTERESTS,
OBLIGATIONS, RIGHTS, SUITS, DAMAGES, CAUSES OF ACTION, REMEDIES,
AND LIABILITIES WHATSOEVER, INCLUDING ANY DERIVATIVE CLAIMS
ASSERTED ON BEHALF OF THE DEBTOR OR THE DEBTOR’S ESTATE,
WHETHER KNOWN OR UNKNOWN, ASSERTED OR UNASSERTED, FORESEEN
OR UNFORESEEN, EXISTING OR HEREINAFTER ARISING, IN LAW, EQUITY, OR
OTHERWISE, WHETHER FOR TORT, FRAUD, CONTRACT, VIOLATIONS OF
FEDERAL OR STATE LAWS OR OTHERWISE, INCLUDING AVOIDANCE
ACTIONS, THOSE CAUSES OF ACTION BASED ON VEIL PIERCING OR ALTER-
EGO THEORIES OF LIABILITY, CONTRIBUTION, INDEMNIFICATION, JOINT
LIABILITY OR OTHERWISE THAT ANY SUCH RELEASING PARTY WOULD


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HAVE BEEN LEGALLY ENTITLED TO ASSERT (WHETHER INDIVIDUALLY OR
COLLECTIVELY), BASED ON OR RELATING TO, OR IN ANY MANNER ARISING
FROM, IN WHOLE OR IN PART, THE DEBTOR, THE DEBTOR’S
RESTRUCTURING, THE RESTRUCTURING TRANSACTIONS, THE CHAPTER 11
CASE, THE SUBJECT MATTER OF, OR THE TRANSACTIONS OR EVENTS GIVING
RISE TO, ANY CLAIM OR EQUITY INTEREST THAT IS TREATED IN THIS PLAN,
THE BUSINESS OR CONTRACTUAL ARRANGEMENTS BETWEEN THE DEBTOR
OR ANY RELEASED PARTY, ON ONE HAND, AND ANY RELEASING PARTY, ON
THE OTHER HAND, THE RESTRUCTURING OF CLAIMS AND EQUITY
INTERESTS PRIOR TO OR DURING THE CHAPTER 11 CASE, THE NEGOTIATION,
FORMULATION, OR PREPARATION OF THIS PLAN, THE DISCLOSURE
STATEMENT, THE ISSUANCE OF THE NEW COMMON STOCK AND/OR ANY
RELATED AGREEMENTS, INSTRUMENTS, OR OTHER DOCUMENTS, THE
PURSUIT OF CONFIRMATION, ANY ACTION OR ACTIONS TAKEN IN
FURTHERANCE OF OR CONSISTENT WITH THE ADMINISTRATION OR
IMPLEMENTATION OF THIS PLAN OR THE DISTRIBUTION OF THE NEW
COMMON STOCK, OR OTHER PROPERTY UNDER THIS PLAN, UPON ANY
OTHER ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER
OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE ARISING
FROM OR RELATING TO ANY OF THE FOREGOING, OTHER THAN CLAIMS OR
LIABILITIES ARISING OUT OF OR RELATING TO ANY ACT OR OMISSION OF A
RELEASED PARTY THAT CONSTITUTES ACTUAL FRAUD, WILLFUL
MISCONDUCT, OR GROSS NEGLIGENCE; PROVIDED, HOWEVER, THAT THE
FOREGOING PROVISIONS OF THIS RELEASE (I) SHALL OPERATE TO WAIVE
AND RELEASE ONLY THOSE CAUSES OF ACTION EXPRESSLY SET FORTH IN
AND RELEASED BY THIS PLAN AND (II) SHALL NOT OPERATE TO WAIVE AND
RELEASE THE RIGHTS OF THE RELEASING PARTIES TO ENFORCE THIS PLAN,
THE CONFIRMATION ORDER, THE NEW COMMON STOCK OR ANY RELATED
AGREEMENTS, INSTRUMENTS, AND OTHER DOCUMENTS DELIVERED UNDER
OR IN CONNECTION WITH THIS PLAN OR ASSUMED OR REINSTATED
PURSUANT TO THIS PLAN OR FINAL ORDER OF THE BANKRUPTCY COURT.

G.   Injunction

     EXCEPT AS OTHERWISE SPECIFICALLY PROVIDED IN THIS PLAN OR
THE CONFIRMATION ORDER, AS OF THE EFFECTIVE DATE, ALL PERSONS OR
ENTITIES THAT HAVE HELD, CURRENTLY HOLD OR MAY HOLD A CLAIM
THAT IS DISCHARGED OR AN EQUITY INTEREST THAT IS TERMINATED
PURSUANT TO THE TERMS OF THIS PLAN ARE PERMANENTLY ENJOINED AND
PRECLUDED FROM TAKING ANY OF THE FOLLOWING ACTIONS ON ACCOUNT
OF ANY SUCH DISCHARGED CLAIMS OR TERMINATED EQUITY INTERESTS OR
RIGHTS: (I) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR
OTHER PROCEEDING OF ANY KIND, WHETHER DIRECTLY, DERIVATIVELY OR
OTHERWISE, INCLUDING ON ACCOUNT OF ANY CLAIMS, INTERESTS, CAUSES
OF ACTION OR LIABILITIES THAT HAVE BEEN COMPROMISED OR SETTLED
AGAINST ANY RELEASED PARTY (OR PROPERTY OR ESTATE OF ANY
RELEASED PARTY) ON ACCOUNT OF OR IN CONNECTION WITH OR WITH


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RESPECT TO ANY RELEASED, SETTLED, COMPROMISED, OR EXCULPATED
CLAIMS, INTERESTS, CAUSES OF ACTION OR LIABILITIES, AGAINST THE
DEBTOR OR THE REORGANIZED DEBTOR OR THEIR RESPECTIVE PROPERTY;
(II) ENFORCING, ATTACHING, COLLECTING OR RECOVERING IN ANY
MANNER ANY JUDGMENT, AWARD, DECREE OR ORDER AGAINST THE
DEBTOR OR THE REORGANIZED DEBTOR OR THEIR RESPECTIVE PROPERTY
ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
RELEASED, SETTLED, COMPROMISED, OR EXCULPATED CLAIMS, INTERESTS,
CAUSES OF ACTION, OR LIABILITIES; (III) CREATING, PERFECTING OR
ENFORCING ANY LIEN, CLAIM OR ENCUMBRANCE AGAINST THE DEBTOR OR
THE REORGANIZED DEBTOR OR THEIR RESPECTIVE PROPERTY ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
RELEASED, SETTLED, COMPROMISED, OR EXCULPATED CLAIMS, INTERESTS,
CAUSES OF ACTION, OR LIABILITIES; (IV) ASSERTING A SETOFF, RIGHT OF
SUBROGATION OR RECOUPMENT OF ANY KIND AGAINST ANY DEBT,
LIABILITY OR OBLIGATION DUE TO THE DEBTOR OR THE REORGANIZED
DEBTOR OR THEIR RESPECTIVE PROPERTY, PROVIDED, THAT ANY RIGHTS
OF SETOFF AND RECOUPMENT OF ANY ENTITY OR PERSON ARE PRESERVED
FOR THE PURPOSE OF ASSERTING SUCH RIGHTS AS A DEFENSE TO ANY
CLAIMS OR CAUSES OF ACTION OF THE DEBTOR OR ITS ESTATE
REGARDLESS OF WHETHER SUCH ENTITY OR PERSON IS THE HOLDER OF AN
ALLOWED CLAIM; AND (V) COMMENCING OR CONTINUING ANY ACTION, ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
RELEASED, SETTLED, COMPROMISED, OR EXCULPATED CLAIMS, INTERESTS,
CAUSES OF ACTION, OR LIABILITIES RELEASED, SETTLED OR COMPROMISED
PURSUANT TO THIS PLAN, THAT DOES NOT COMPLY WITH OR IS
INCONSISTENT WITH THE PROVISIONS OF THIS PLAN.

H.     Protection Against Discriminatory Treatment

         Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the
U.S. Constitution, all Entities, including Governmental Units, shall not discriminate against the
Reorganized Debtor or deny, revoke, suspend, or refuse to renew a license, permit, charter,
franchise, or other similar grant to, condition such a grant to, discriminate with respect to such a
grant against, the Reorganized Debtor, or another Entity with whom the Reorganized Debtor has
been associated, solely because the Debtor has been a debtor under chapter 11 of the Bankruptcy
Code, has been insolvent before the commencement of the Chapter 11 Case (or during the
Chapter 11 Case but before the Debtor is granted or denied a discharge), or has not paid a debt
that is dischargeable in the Chapter 11 Case.




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                                         ARTICLE XI.

                              MISCELLANEOUS PROVISIONS

A.     Modification of Plan

        The Debtor reserves the right, in accordance with the Bankruptcy Code and the
Bankruptcy Rules, to amend, supplement, amend and restate, or otherwise modify this Plan prior
to the entry of the Confirmation Order; (b) after the entry of the Confirmation Order, the Debtor
or the Reorganized Debtor, as applicable, may, after notice and hearing and entry of an order of
the Bankruptcy Court, amend, supplement, amend and restate, or otherwise modify this Plan in
accordance with section 1127(b) of the Bankruptcy Code or remedy any defect or omission or
reconcile any inconsistency in this Plan in such manner as may be necessary to carry out the
purpose and intent of this Plan; and (c) a Holder of a Claim that has accepted this Plan shall be
deemed to have accepted this Plan, as amended, supplemented, amended and restated, or
otherwise modified, if the proposed amendment, supplement, amendment and restatement, or
other modification does not materially and adversely change the treatment of the Claim of such
Holder, or release any claims or liabilities reserved by such Holder under this Plan. Entry of the
Confirmation Order shall mean that all modifications or amendments to this Plan occurring after
the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do
not require additional disclosure or re-solicitation under Bankruptcy Rule 3019. Prior to the
Effective Date, the Debtor may make appropriate technical adjustments to this Plan without
further order or approval of the Bankruptcy Court.

B.     Revocation of Plan

        The Debtor reserves the right to revoke or withdraw this Plan prior to the Confirmation
Date and to file subsequent chapter 11 plan(s). If the Debtor revokes or withdraws this Plan, or if
Confirmation or consummation of this Plan does not occur, then: (1) this Plan shall be null and
void in all respects; (2) any settlement or compromise embodied in this Plan, assumption or
rejection of Executory Contracts or Unexpired Leases effected by this Plan and any document or
agreement executed pursuant hereto shall be deemed null and void except as may be set forth in
a separate order entered by the Bankruptcy Court; and (3) nothing contained in this Plan shall:
(a) constitute a waiver or release of any Claims by or against, or any Equity Interests in, the
Debtor or any other Entity; (b) prejudice in any manner the rights of the Debtor or any other
Entity; or (c) constitute an admission, acknowledgment, offer, or undertaking of any sort by the
Debtor or any other Entity.

C.     Severability of Plan Provisions

        If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the
power to alter and interpret such term or provision to make it valid or enforceable to the
maximum extent practicable, consistent with the original purpose of the term or provision held to
be invalid, void, or unenforceable, and such term or provision will then be applicable as altered
or interpreted and the Debtor may amend, supplement, amend and restate, or otherwise modify
this Plan to correct the defect, by amending or deleting the offending provision or otherwise, or


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may withdraw this Plan. Notwithstanding any such holding of the Bankruptcy Court, the
remainder of the terms and provisions of this Plan will remain in full force and effect and will in
no way be affected, impaired, or invalidated by such holding, alteration, or interpretation. The
Confirmation Order will constitute a judicial determination and will provide that each term and
provision of this Plan, as it may have been altered or interpreted in accordance with the
foregoing, is valid and enforceable pursuant to its terms.

D.     Successors and Assigns

       The rights, benefits and obligations of any Person or Entity named or referred to in this
Plan shall be binding on, and shall inure to the benefit of, any heir, executor, administrator,
successor, or assign of that Person or Entity.

E.     Term of Injunctions or Stays

        Unless otherwise provided herein or in the Confirmation Order, all injunctions or stays in
effect in the Chapter 11 Case, either by virtue of sections 105 or 362 of the Bankruptcy Code or
any order of the Bankruptcy Court, shall remain in full force and effect until the Effective Date
has occurred.

F.     Reservation of Rights

        Except as expressly set forth herein, this Plan shall have no force or effect unless and
until the Bankruptcy Court enters the Confirmation Order and the Effective Date shall have
occurred. Neither the filing of this Plan, any statement or provision contained herein, nor the
taking of any action by the Debtor or any other Entity with respect to this Plan shall be or shall
be deemed to be an admission or waiver of any rights of: (1) the Debtor with respect to the
Holders of Claims or Equity Interests or other Entity; or (2) any Holder of a Claim or Equity
Interest or other Entity, in each case, prior to the Effective Date.

G.     Notices

        Any notice, request, or demand required or permitted to be made or provided to or upon
the Debtor or the JPM Parties under this Plan shall be (i) in writing, (ii) served by (a) certified
mail, return receipt requested, (b) hand delivery, (c) overnight delivery service, (d) facsimile
transmission or (e) email transmission, and (iii) deemed to have been duly given or made when
actually delivered or, in the case of notice by facsimile or email transmission, upon confirmation
of transmission, addressed as follows:

               If to the Debtor:

                       Triangle Petroleum Corporation
                       100 Fillmore Street
                       5th Floor
                       Denver, Colorado 80206
                       Attn: Ryan D. McGee, Esq. (rmcgee@trianglepetroleum.com)




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               with a copy to (which shall not constitute notice):

               Counsel to the Debtor

                       Paul, Weiss, Rifkind, Wharton & Garrison LLP
                       1285 Avenue of the Americas
                       New York, NY 10019
                       Attn: Kelley A. Cornish, Esq. (kcornish@paulweiss.com)
                             Alexander Woolverton, Esq. (awoolverton@paulweiss.com)

                      Facsimile: (212) 373-3990

                       – and –

                       Young Conaway Stargatt & Taylor, LLP
                       Rodney Square
                       1000 North King Street
                       Wilmington, DE 19801
                       Attn: Pauline K. Morgan, Esq. (pmorgan@ycst.com)
                             Andrew L. Magaziner, Esq. (amagaziner@ycst.com)
                             Shane Reil, Esq. (sreil@ycst.com)
                       Facsimile: (302) 571-1253

               If to the JPM Parties:

                       Duane Morris LLP
                       30 South 17th Street
                       Philadelphia, PA 19103-4196
                       Attn: Lawrence J. Kotler, Esq. (ljkotler@duanemorris.com)
                       Facsimile: (215) 979-1020

H.     Governing Law

        Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal law
is applicable, or to the extent that an exhibit or schedule to this Plan provides otherwise, the
rights and obligations arising under this Plan shall be governed by, and construed and enforced in
accordance with, the internal laws of the State of Delaware, without giving effect to the
principles of conflicts of law thereof.

I.     Exhibits

        All exhibits and schedules to this Plan, including the Exhibits, are incorporated and are a
part of this Plan as if set forth in full herein.




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J.     Conflicts

        In the event of a conflict between this Plan and the Disclosure Statement, the terms of
this Plan shall control in all respects. In the event of a conflict between the Confirmation Order
and this Plan, the Confirmation Order shall control.

K.     Immediate Binding Effect

        Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the
occurrence of the Effective Date, the terms of this Plan and the Plan Documents shall be
immediately effective and enforceable and deemed binding upon and inure to the benefit of the
Debtor, the Reorganized Debtor, the Holders of Claims and Equity Interests, the Released
Parties, and each of their respective successors and assigns.

L.     Entire Agreement

       On the Effective Date, this Plan, and the Confirmation Order shall supersede all previous
and contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into this Plan.

M.     Reservation of Rights

       Except as otherwise provided herein, this Plan shall be of no force or effect unless the
Bankruptcy Court enters the Confirmation Order. None of the filing of this Plan, any statement
or provision of this Plan, or the taking of any action by the Debtor with respect to this Plan shall
be or shall be deemed to be an admission or waiver of any rights of the Debtor with respect to
any Claims or Equity Interests prior to the Effective Date.


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May 7, 2019
Denver, Colorado
                            TRIANGLE PETROLEUM CORPORATION

                            /s/ Ryan D. McGee
                            Name: Ryan D. McGee
                            Title: Chief Executive Officer
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                                                EXHIBIT A

     SCHEDULE OF ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 All Executory Contracts and Unexpired Leases of the Debtor listed on this Exhibit A shall be
 deemed to be assumed by the Debtor on the Effective Date pursuant to Article VI.B of the Plan,
 and the Cure amount for each such Executory Contract or Unexpired Lease shall be the amount
 designated below. To the extent that the Debtor has entered into or does enter into any
 amendment or modification of any of the Executory Contracts or Unexpired Leases being
 assumed under this Exhibit A and Article VI.B of the Plan in connection with, or prior to, the
 assumption of such Executory Contracts or Unexpired Leases, such Executory Contracts or
 Unexpired Leases will be assumed as amended or modified.

 Nothing contained in the Plan or its exhibits, including this Schedule of Proposed Cure
 Amounts, shall constitute an admission by the Debtor, Reorganized Debtor, or any other
 party that any contract or lease (including any listed below) is in fact an Executory
 Contract or Unexpired Lease or that the Debtor or Reorganized Debtor has any liability
 thereunder.


         Cure                                                                               Contract
No.                   Debtor Entity Name              Description of Contract
        Amount                                                                            Counterparty



1.        $0         Triangle Petroleum Corp.      Corporate Credit Card         American Express



2.        $0         Triangle Petroleum Corp.      Website Hosting               adWhite LLC


3.        $0         Triangle Petroleum Corp.      Registered Agent Services     CT Corporation



4.        $0         Triangle Petroleum Corp.      Payroll Processing            Paylocity



5.        $0         Triangle Petroleum Corp.      Online Signature Service      DocuSign



6.        $0         Triangle Petroleum Corp.      Headquarters Office Lease     Regus



7.        $0         Triangle Petroleum Corp.      Email Hosting                 Google
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       Cure                                                                           Contract
No.                Debtor Entity Name           Description of Contract
      Amount                                                                        Counterparty



8.      $0        Triangle Petroleum Corp.   Employment Agreement            Ryan McGee


                                             Special Compensation
9.      $0        Triangle Petroleum Corp.                                   Ryan McGee
                                             Agreement


10.     $0        Triangle Petroleum Corp.   Human Resources Consultant      Fraser & KMH Group, LLC



11.     $0        Triangle Petroleum Corp.   401(k) Plan Advisor             Western Wealth Benefits



12.     $0        Triangle Petroleum Corp.   Website Domain                  Easy DNS


                                             Conference Call Hosting
13.     $0        Triangle Petroleum Corp.                                   Unlimited Conferencing
                                             Service


14.     $0        Triangle Petroleum Corp.   IT Consultant                   Long View Systems




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